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                            UNITED STATES DISTRICT COURT
                            SOUTHARD DISTRICT OF FLORIDA
                              CASE NO.: 8:25-cv-01318-MSS-CPT


 CONNOR HUNTLEY,
               Plaintiff,
 v.

 HILLSBOROUGH COUNTY SHERIFF'S OFFICE,
 CHAD CHRONISTER, in his official capacity as Sheriff of Hillsborough County,
 SYED SALMAN, in his individual capacity,
 AMELIA J. TENNEY-LAMOUREUX, in her individual capacity,
 REED A. SERVICE, in his individual capacity,
 BRANDON M. GHABBOUR, in his individual capacity,
 OFFICE OF THE STATE ATTORNEY, 13TH JUDICIAL CIRCUIT,
 SUSAN S. LOPEZ, in her official capacity as State Attorney,
 ROSEANNA MARIE WRIGHT, in her individual capacity,
 NATASHA JACKSON, in her individual capacity,
 ALEXANDER WILDE, in his individual capacity,
 ROBERT FIGUEROA, in his individual capacity,
 GREGORY TINDALL, in his individual capacity,

            Defendants.
 _____________________________________/

      NOTICE OF LEAD COUNSEL APPEARANCE AND DESIGNATION OF
             PRIMARY AND SECONDARY EMAIL ADDRESSES

        NOTICE IS HEREBY GIVEN that Stephanie Pidermann, Esq., of the law firm

 of Lydecker LLP, hereby enter appearance as counsel for Defendant, NATASHA

 JACKSON, in this case. By filing this Notice of Appearance, Defendant does not waive

 its right to challenge this Court’s jurisdiction.

         Primary e-mail address for counsel Secondary e-mail address

         Stephanie Pidermann, Esq.                           Evelyn Valido
         sp@lydecker.com                                     eve@lydecker.com

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        By filing this Notice of Appearance, Defendant does not waive its right to

 challenge jurisdiction. Service of all future pleadings, notices, and orders should be made

 upon the designated counsel at the e-mail addresses provided above.

        Dated: July 9, 2025

                                                    Respectively Submitted,
                                           By:     /s/ Stephanie Pidermann
                                                   STEPHANIE PIDERMANN, ESQ.
                                                   Florida Bar No: 60414
                                                   sp@lydeckerdiaz.com

                                 CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing document with the Clerk of
 Court using CM/ECF on July 9, 2025. I also certify that a true and correct copy of the
 foregoing was served this day via transmission of Notices of Electronic Filing generated
 by CM/ECF on all counsel or parties of record on the Service List below.
                                                         /s/ Stephanie Pidermann
                                                         Stephanie Pidermann, Esq.


                                            SERVICE LIST

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